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Case 18-10189-CSS Doc 803 Filed 06/08/18 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

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In re Chapter 11
PATRIOT NATIONAL, INC., ef al.,' Case No. 18-10189 (KG)
Debtors. (Jointly Administered)
Re: D.I. 776

 

 

ORDER PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE
EXTENDING THE EXCLUSIVE PERIODS WITHIN WHICH THE DEBTORS
MAY FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

Upon consideration of the motion (the “Motion”), dated May 23, 2018, of the
debtors and debtors-in-possession in the above-captioned case (the “Debtors”) for entry of an
order (this “Order”), pursuant to section 1121(d) of the Bankruptcy Code, Bankruptcy Rule
9006, and Local Rule 9006-2, extending the Debtors’ Exclusive Periods; and it appearing that
this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the
Amended Standing Order of Reference from the United States District Court for the District of
Delaware, dated February 29, 2012; and this Court having found that it may enter a final order
consistent with Article III of the United States Constitution; and the Court having found that this

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of

this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 

1. The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtors’ federal tax identification
number, are: Patriot National, Inc. (1376), Patriot Services, LLC (1695); TriGen Insurance Solutions, Inc.
(2501); Patriot Captive Management, LLC (2341); Patriot Underwriters, Inc. (0045); TriGen Hospitality Group,
Inc. (6557); Patriot Risk Consultants, LLC (0844); Patriot Audit Services, LLC (5793); Patriot Claim Services,
Inc. (9147); Patriot Risk Services, Inc. (7189); Corporate Claims Management, Inc. (6760), CWIBenefits, Inc.
(0204); Forza Lien, LLC (7153); Contego Investigative Services, Inc. (0330); Contego Services Group, LLC
(0012); Patriot Care Management, LLC (2808); Radar Post-Closing Holding Company, Inc. (2049); Patriot
Technology Solutions, LLC (6855); and Decision UR, LLC (1826). The Debtors’ business address is 401 East
Las Olas Boulevard, Suite 1650, Fort Lauderdale, Florida 33301.

DOCS_DE:219644.2 69353/002
 

Case 18-10189-CSS Doc 803 Filed 06/08/18 Page 2 of 2

and due and proper notice of the hearing to consider the relief requested herein (the “Hearing”)
having been provided to the parties provided for in the Motion and no further notice being
necessary; and the legal and factual bases set forth in the Motion establishing just and sufficient
cause to grant the relief requested therein; and the relief granted herein being in the best interests
of the Debtors, their estates, creditors, and all parties in interest; and the Court having held the
Hearing with the appearances of interested parties noted in the record of the Hearing; and no
objection to the Motion having been filed or made at the Hearing on the Motion; and upon all of
the proceedings before the Court;
IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED as set forth herein.

2. The Debtors’ Exclusive Filing Period if hereby extended through and
including August 28, 2018.

3. The Debtors’ Exclusive Solicitation Period is hereby extended through
and including October 29, 2018.

4, The entry of this Order shall be without prejudice to the rights of the
Debtors to request further extensions of the Exclusive Periods or to seek other appropriate relief.

5. The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation or enforcement of this Order.

Dated: Ate 2018 He,
Wilmington, Delaware (oe i
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THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE

 

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